       Case 1:18-cr-00032-DLF Document 256-37 Filed 11/26/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                              CRIMINAL NUMBER:
               v.
                                                              1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,

       Defendant.


                                      PROPOSED ORDER

       With the Court having considered Defendant Concord Management and Consulting

LLC’s Motion to Dismiss Count One of the Superseding Indictment, Memorandum in Support

thereof, and any opposition and reply thereto, it is hereby

       ORDERED that the motion is GRANTED; and it is

       FURTHER ORDERED that Count One of the Superseding Indictment, ECF 247, is

dismissed as to Defendant Concord Management and Consulting LLC.

       SO ORDERED, this ____ day of _____________________, 20____.




                                                      ______________________________
                                                      DABNEY L. FRIEDRICH
                                                      United States District Judge
